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 1   McGREGOR W. SCOTT
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     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2789
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 6
 7                     IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,     )
10                                 )           CR. No. 2:04-cr-0388-MCE
                    Plaintiff,     )
11                                 )           STIPULATION TO SET NEW MOTIONS
               v.                  )           SCHEDULE AND TO EXCLUDE TIME;
12                                 )           ORDER
     CASSANDRA MUNIZ, et al.       )
13                                 )
                    Defendants.    )
14   ______________________________)
15         It is hereby stipulated between the parties, Plaintiff United
16   States of America, by and through United States Attorney McGregor W.
17   Scott and Assistant United States Attorney Phillip A. Talbert,
18   Defendant Cassandra Muniz, through her attorney Candace Fry,
19   Defendant Tyson Trotter, through his attorney Barry Voss, Defendant
20   Rogelio Zuniga, through his attorney Frank DiGiacomo, Defendant
21   Caidez Saul Garcia, through his attorney Walter Urban, Defendant
22   Juan Pablo Velazquez, through his attorney Victor Haltom, Defendant
23   Pancho Aceka, through his attorney Daniel Hustwit, Defendant Brady
24   Morse, through his attorney Krista Hart, and Defendant Juan Ayon
25   Sandoval, through his attorney Kirt Hopson, as follows:
26         On June 13, 2006, the Court set a briefing schedule in this
27   matter and a motions hearing date of October 3, 2006, at 8:30 a.m.;
28   ///

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 1        Earlier, on May 16, 2006, Defendant Cassandra Muniz filed a
 2   joinder in six motions previously filed by co-Defendant Angel Gomez,
 3   who later entered a guilty plea in the case;
 4        The parties are involved in negotiations to attempt to resolve
 5   this case;
 6        The defendants need additional time to research and prepare
 7   possible additional pretrial motions and supporting memoranda, which
 8   need will be obviated for any defendant whose case is resolved;
 9        The parties request a new briefing schedule and hearing date be
10   set as follows:   motions to be filed by November 7, 2006;
11   government’s oppositions to be filed by December 12, 2006;
12   defendants’ optional reply briefs to be filed by December 19, 2006;
13   and non-evidentiary hearing on the motions set for January 9, 2007,
14   at 8:30 a.m.; and
15        The parties request that time be excluded until the date of
16   hearing for effective preparation of counsel, both with respect to
17   the motions and the case, and due to the case’s complexity, pursuant
18   to Local Codes T4 and T2, and 18 U.S.C. §3161(h)(8)(B)(iv) and (ii).
19
20   Dated: September 22, 2006              /s/Candace Fry
                                           CANDACE FRY
21                                         Attorney for Defendant
                                           CASSANDRA MUNIZ
22                                       By PAT per email authorization
23   Dated: September 22, 2006              /s/Barry Voss
                                           BARRY VOSS
24                                         Attorney for Defendant
                                           TYSON TROTTER
25                                       By PAT per telephone authorization
26   Dated: September 22, 2006              /s/Frank DiGiacomo
                                           FRANK DIGIACOMO
27                                         Attorney for Defendant
                                           ROGELIO ZUNIGA
28                                       By PAT per telephone authorization

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 1   Dated: September 22, 2006              /s/Walter Urban
                                           WALTER URBAN
 2                                         Attorney for Defendant
                                           CAIDEZ SAUL GARCIA
 3                                       By PAT per telephone authorization
 4   Dated: September 22, 2006              /s/Victor Haltom
                                           VICTOR HALTOM
 5                                         Attorney for Defendant
                                           JUAN PABLO VELAZQUEZ
 6                                       By PAT per email authorization
 7   Dated: September 22, 2006              /s/Daniel Hustwit
                                           DANIEL HUSTWIT
 8                                         Attorney for Defendant
                                           PANCHO ACEKA
 9                                       By PAT per telephone authorization
10   Dated: September 22, 2006              /s/Krista Hart
                                           KRISTA HART
11                                         Attorney for Defendant
                                           BRADY MORSE
12                                       By PAT per telephone authorization
13   Dated: September 22, 2006              /s/Kirt Hopson
                                           KIRT HOPSON
14                                         Attorney for Defendant
                                           JUAN AYON SANDOVAL
15                                       By PAT per telephone authorization
16
17                                            McGREGOR W. SCOTT
                                              United States Attorney
18
     Dated: September 22, 2006                /s/Phillip A. Talbert
19                                            PHILLIP A. TALBERT
                                              Assistant U.S. Attorney
20                                            Attorney for Plaintiff
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 1                                      ORDER
 2        GOOD CAUSE APPEARING, the previously set motions schedule and
 3   hearing date of October 3, 2006, are vacated, and a new hearing date
 4   of January 9, 2007, at 8:30 a.m. is set with the parties.         The
 5   motions briefing schedule is as follows: motions to be filed by
 6   November 7, 2006; government’s oppositions to be filed by December
 7   12, 2006; and defendants’ optional reply briefs to be filed by
 8   December 19, 2006.   Time will be excluded from the date of this
 9   Order until January 9, 2007, for effective attorney preparation and
10   complexity under both Local Codes T4 and T2 and 18 U.S.C.
11   §3161(h)(8)(A) and (B)(iv) and (ii).
12   Dated: September 28, 2006
13
14
15                                     _____________________________
                                       MORRISON C. ENGLAND, JR
16                                     UNITED STATES DISTRICT JUDGE
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